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Attorneys for Defendant




                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION
 A.M., an individual,                                Case No. 3:21-cv-01674-MO

                        Plaintiff,
 v.                                                  DECLARATION OF STACIA N. LAY IN
                                                     SUPPORT OF DEFENDANT
                                                     OMEGLE.COM LLC’S REQUEST FOR
                                                     JUDICIAL NOTICE
 OMEGLE.COM LLC,

                        Defendant.

       I, Stacia N. Lay, declare and state as follows:

       1.      I am an attorney at Focal PLLC and represent Defendant Omegle.com LLC

(“Omegle”) in this action. I am over 18 years of age. This Declaration is based upon personal

knowledge unless otherwise stated, in which case I believe the information to be true.

       2.      On December 15, 2021, I visited the publicly-available Omegle

website – available at www.omegle.com – and downloaded copies of Omegle’s current Terms of

Service Agreement, Community Guidelines, and Privacy Notice (collectively, the “Policies”).


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The Policies are available via clearly-identified links on the Omegle homepage

(www.omegle.com), as shown in the following screenshot of the homepage that I captured on

January 11, 2022:




       3.     Attached hereto as Exhibit A is a true and correct copy of the Omegle Terms of

Service Agreement, last updated June 1, 2021, which I downloaded via the link on the Omegle

homepage (https://www.omegle.com/static/terms.html) on December 15, 2021.

       4.     Attached hereto as Exhibit B is a true and correct copy of the Omegle

Community Guidelines, last updated June 1, 2021, which I downloaded via the link on the

Omegle homepage (https://www.omegle.com/static/guidelines.html) on December 15, 2021.

       5.     Attached hereto as Exhibit C is a true and correct copy of the Omegle Privacy

Notice, last updated June 1, 2021, which I downloaded via the link on the Omegle homepage

(https://www.omegle.com/static/privacy.html) on December 15, 2021.



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       6.      Using the Internet Archive’s “Wayback Machine,” I also captured screenshots of

the Omegle website as it appeared at various times from 2014 through 2021 (as further described

in the paragraphs that follow). The Wayback Machine provides access to archived copies of

publicly-available websites as those websites appeared at a specific point in time, essentially

acting as a historical record of the websites. More information about the Wayback Machine can

be found on the Internet Archive’s website at https://help.archive.org/hc/en-

us/articles/360004716091-Wayback-Machine-General-Information.

       7.      Attached hereto as Exhibit D are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 1, 2014 and December 30, 2014, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022.

       8.      Attached hereto as Exhibit E are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 1, 2015 and December 31, 2015, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022.

       9.      Attached hereto as Exhibit F are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 1, 2016 and December 30, 2016, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022.

       10.     Attached hereto as Exhibit G are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 3, 2017 and December 31, 2017, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022.




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       11.    Attached hereto as Exhibit H are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 2, 2018 and December 25, 2018, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022.

       12.    Attached hereto as Exhibit I are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 2, 2019 and December 30, 2019, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022 and January 14, 2022, respectively.

       13.    Attached hereto as Exhibit J are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 1, 2020 and December 31, 2020, that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022.

       14.    Attached hereto as Exhibit K are true and correct copies of screenshots of the

Omegle homepage (www.omegle.com) on January 1, 2021 and May 31, 2021, that I captured

from the Internet Archive’s Wayback Machine, located at archive.org, on January 11, 2022 and

January 16, 2022, respectively.

       15.    Attached hereto as Exhibit L are true and correct copies of screenshots that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022 and January 14, 2022 of the following: (a) the Omegle homepage

(www.omegle.com) on June 6, 2021; (b) the Omegle Terms of Service Agreement

(www.omegle.com/static/terms) on June 6, 2021; (c) the Omegle Community Guidelines

(www.omegle.com/static/guidelines) on June 6, 2021; and (d) the Omegle Privacy Notice

(www.omegle.com/static/privacy) on June 6, 2021.




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       16.    Attached hereto as Exhibit M are true and correct copies of screenshots that I

captured from the Internet Archive’s Wayback Machine, located at archive.org, on

January 11, 2022 of the following: (a) the Omegle homepage (www.omegle.com) on

December 29, 2021; (b) the Omegle Terms of Service Agreement

(www.omegle.com/static/terms) on December 28, 2021; (c) the Omegle Community Guidelines

(www.omegle.com/static/guidelines) on December 28, 2021; and (d) the Omegle Privacy Notice

(www.omegle.com/static/privacy) on December 28, 2021.

       17.    Attached hereto as Exhibit N is a document I created providing a summary of the

screenshots I captured from the Internet Archive’s Wayback Machine identified as Exhibits D-M

above, including the Wayback Machine links for each screenshot captured and the dates on

which I captured the screenshots.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.

       Executed this 18th day of January, 2022, at Seattle, Washington.



                                                     s/ Stacia N. Lay
                                                     STACIA N. LAY




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